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     1   NYE, STIRLING, HALE &                      SHEPPARD, MULLIN, RICHTER
         MILLER, LLP                                & HAMPTON LLP
     2   Jonathan D. Miller (CA 220848)             SASCHA HENRY (CA 191914)
         Alison M. Bernal (CA 264629)               shenry@sheppardmullin.com
     3   jonathan@nshmlaw.com                       333 South Hope Street, 43rd Floor
         alison@nshmlaw.com                         Los Angeles, CA 90071-1422
     4   33 West Mission St., Suite 201             Telephone: 213.620.1780
         Telephone: (805) 963-2345                  Facsimile: 213.620.1398
     5   Facsimile: (805) 364-4508
     6
         CARLSON LYNCH SWEET                        SHEPPARD, MULLIN, RICHTER
     7   KILPELA & CARPENTER, LLP                   & HAMPTON LLP
         Todd D. Carpenter (CA 234464)              ABBY H. MEYER (CA 294947)
     8   tcarpenter@carlsonlynch.com                ameyer@sheppardmullin.com
         1350 Columbia Street, Ste. 603             650 Town Center Drive, Fourth Floor
     9   Telephone: (619) 762-1900                  Costa Mesa, CA 92626-1993
         Facsimile: (619) 756-6991                  Telephone: 714.513.5100
    10                                              Facsimile: 714.513.5130
         Attorneys for Plaintiffs and the Class
    11   [Additional Counsel Listed on              Attorneys for Defendant Younique, LLC
         Signature Page]
    12

    13
                               UNITED STATES DISTRICT COURT
    14
                              CENTRAL DISTRICT OF CALIFORNIA
    15

    16   MEGAN SCHMITT, DEANA                       Case No. 8:17-cv-01397-JVS-JDE
         REILLY, CAROL ORLOWSKY, and
    17   STEPHANIE MILLER BRUN,
         individually and on behalf of
         themselves and all others similarly        JOINT [PROPOSED] FINAL
    18                                              PRETRIAL CONFERENCE ORDER
         situated,
    19
                      Plaintiffs,
    20
               v.                                   Pretrial Conference: February 4, 2019
    21                                              Trial Date: February 19, 2019
         YOUNIQUE, LLC,
    22
                      Defendant.
    23

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    27

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     1        Following pretrial proceedings, pursuant to F.R.Civ.P. 16 and L.R. 16,
     2        IT IS ORDERED:
     3 1.     The Parties Are:
     4                  A. Plaintiff Megan Schmitt
     5                  B. Plaintiff Deana Reilly
     6                  C. Plaintiff Stephanie Miller Brun
     7                  D. Defendant Younique, LLC.
     8        Each of these parties has been served and has appeared. Summary Judgment
     9 was granted in Defendant’s favor against the claims of Plaintiff Carol Orlowsky on

    10 December 21, 2018 (Dkt. 136). All other parties named in the pleadings and not

    11 identified in the preceding paragraph are now dismissed.

    12        The pleadings which raise the issues are:
    13                  A. Plaintiffs’ Second Amended Complaint dated January 4, 2018
    14                      (Dkt. 58);
    15                  B. Defendant Younique, LLC’s Answer to Second Amended Class
    16                      Action Complaint dated January 18, 2018 (Dkt. 60).
    17 2.     Federal jurisdiction and venue are invoked upon these grounds:
    18        Plaintiffs bring class action claims for breach of California, Ohio, Florida and
    19 Tennessee state consumer protection and warranty laws and under the federal

    20 Magnusson-Moss Warranty Act, 15 U.S.C. § 2310 et seq. Plaintiff Megan Schmitt

    21 is a resident of California and the events that gave rise to her claim occurred in this

    22 District. The Court has jurisdiction over this action pursuant to the Class Action

    23 Fairness Act, 28 U.S.C. § 1332(d). Venue is proper because Plaintiff Megan

    24 Schmitt is a resident of this District and the events that gave rise to her claim

    25 occurred in this District.

    26        For purposes of jurisdiction and venue, there are no disputed facts.
    27

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     1 3.    The trial is estimated to take 7 days.
     2 4.    The trial is to be a jury trial.
     3       Per the Scheduling Order, at least seven (7) days prior to the trial date the
     4       parties shall file and serve by e-mail, fax, or personal delivery: (a) proposed
     5       jury instructions as required by L.R. 51-1 and (b) and special questions
     6       requested to be asked on voir dire (i.e., by February 12, 2019).
     7 5.    The following facts are admitted and require no proof:
     8            A. Megan Schmitt is a citizen of California.
     9            B. Megan Schmitt purchased Younique Moodstruck 3D Fiber Lashes for
    10               personal use in 2012.
    11            C. Megan Schmitt paid $29 for the Moodstruck 3D Fiber Lashes.
    12            D. Deana Reilly is a citizen of Florida.
    13            E. Deana Reilly purchased Younique Moodstruck 3D Fiber Lashes for
    14               personal use in early 2015.
    15            F. Deana Really paid $29 for the Moodstruck 3D Fiber Lashes.
    16            G. Stephanie Miller Brun is a citizen of Ohio.
    17            H. Stephanie Miller Brun purchased Younique Moodstruck 3D Fiber
    18               Lashes for personal use on November 18, 2014.
    19            I. Stephanie Miller Brun was a Younique presenter and from time to time
    20               purchased the Moodstruck 3D Fiber Lashes for resale to her customers.
    21            J. Younique, LLC is a company with its principle place of business in
    22               Lehi, Utah.
    23            K. Between October 2012 and July 2015 Younique, LLC sold a mascara
    24               called “Younique Moodstruck 3D Fiber Lashes.”
    25            L. The Younique Moodstruck 3D Fiber Lashes consisted of two
    26               components, a “transplanting gel” and “natural fibers.”
    27       M.      Dr. May did not opine on the Plaintiffs’ individual damages.
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     1 6.      The following facts, though stipulated, shall be without prejudice to any
     2         evidentiary objection:
     3                (a) Younique sold 459,411 stand-alone units of the Younique
     4                Moodstruck 3D Fiber Lashes in California between October 2012 and
     5                July 2015.
     6                (b) Younique sold 154,146 stand-alone units of the Younique
     7                Moodstruck 3D Fiber Lashes in Ohio between October 2012 and July
     8                2015.
     9                (c) Younique sold 180, 404 stand-alone units of the Younique
    10                Moodstruck 3D Fiber Lashes in Florida between October 2012 and July
    11                2015.
    12                (d) Dixie Memmott was the Product Development and Supply
    13                Manager at Younique as of January 24, 2014.
    14                (e) The retail price for the Moodstruck 3D Fiber Lashes as a stand-
    15                alone product was $29.
    16                (f) Presenters purchase a “presenter kit”, use the products in the kit
    17                and then post about them across social media platforms such as
    18                Facebook and Instagram.
    19

    20
         7.    Elements of Claims:

    21                        Plaintiffs’ Claims and Evidence in Support
    22
         CLAIM ONE: Younique violated the Florida Unfair and Deceptive Trade
    23
         Practices Act (FUDTPA). This claim is brought by Deana Reilly and the
    24
         Florida Class Against Younique, LLC.
    25
               The elements to establish a claim under the FUDTPA are “(1) a deceptive act
    26
         or unfair practice; (2) causation; and (3) actual damages.” Rollins, Inc. v. Butland,
    27
         951 So. 2d 860, 869 (Fla. Dist. Ct. App. 2006). See Jury Instruction No. 53.
    28
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     1             i. FUDTPA Element 1: Deceptive Act or Unfair Practice
     2                    Evidence in Support
     3                    a. Exhibit 1 (YNQE0000994; Ranallo Ex. 4)
     4                    b. Exhibit 2 (YNQE0000731)
     5                    c. Exhibit 3 (YNQE 1291-1296; Ranallo Ex. 8)
     6                    d. Exhibit 4 (8.11.14 Younique Website Capture)
     7                    e. Exhibit 5 (McFadden Report)
     8                    f. Exhibit 6 (YNQE0001014-1018; Ranallo Ex. 15)
     9                    g. Exhibit 7 (YNQE0001239-1240; Ranallo Ex. 5)
    10                    h. Exhibit 8 (YNQE0001211; Ranallo Ex. 9)
    11                    i. Exhibit 9 (YNQE0001079-1081; Ranallo Ex. 14
    12                    j. Exhibit 10 (YNQE 1872-1897; Ranallo Ex. 17)
    13                    k. Exhibit 11 (Ranallo Ex. 7)
    14                    l. Exhibit 12 (Five Fiberlash Products Produced by Plaintiff at
    15                       Stephanie Miller-Brun’s Deposition)
    16                    m. Exhibit 13 (Fiberlash Product Produced by Plaintiff at Megan
    17                       Schmitt’s Deposition)
    18                    n. Exhibit 14 (Product Ingredients List to Younique Employees)
    19                    o. Exhibit 15 (Defendant Younique, LLC’s Answer to Second
    20                       Amended Complaint)
    21                    p. Testimony of Deana Reilly
    22

    23             ii.       FUDTPA Element 2: Causation
    24                       Evidence in Support
    25                          a. Testimony of Deana Reilly
    26
    27             iii.      FUDTPA Element 3: Actual Damages.
    28
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     1                        Evidence in Support
     2                     a. Testimony of Deana Reilly
     3                     b. Exhibit 16 (Expert Report and testimony of Don May)
     4                     c. Exhibit 17 (Receipt(s))
     5                     d. Exhibit 30 (YNQE0000345 (sales data))
     6 Plaintiffs will seek attorney fees to the extent they are available by statute.

     7 CLAIM TWO: Younique violated the California Unfair Competition Law

     8 (UCL), California Business and Professions Code § 17200 et seq. This claim is

     9 brought by Megan Schmitt and the California Class Against Younique, LLC.

    10        The elements to establish Plaintiff’s claim under the UCL are: (1) “economic
    11 injury” ( i.e., a loss or deprivation of money or property sufficient to qualify as an

    12 injury-in-fact), and (2) the defendant’s unfair business practices caused plaintiff’s

    13 economic injury. Pulaski v. Middleman, LLC v. Google, Inc., 802 F.3d 979, 985 n.6

    14 (9th Cir. 2015).

    15

    16               i. UCL Element 1: economic injury
    17                     Evidence in Support
    18                        a. Testimony of Megan Schmitt
    19                        b. Exhibit 16 (Expert Report and testimony of Don May)
    20                        c. Exhibit 30 (YNQE0000345 (sales data))
    21

    22               ii.      UCL Element 2: Unfair Business Practices Caused Injury
    23                        Evidence in support of UCL “Unfair” prong:
    24                     a. Exhibit 1 (YNQE0000994; Ranallo Ex. 4)
    25                     b. Exhibit 2 (YNQE0000731)
    26                     c. Exhibit 3 (YNQE 1291-1296; Ranallo Ex. 8)
    27                     d. Exhibit 4 (11.14 Younique Website Capture)
    28
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     1                e. Exhibit 5 (McFadden Report)
     2                f. Exhibit 6 (YNQE0001014-1018; Ranallo Ex. 15)
     3                g. Exhibit 7 (YNQE0001239-1240; Ranallo Ex. 5)
     4                h. Exhibit 8 (YNQE0001211; Ranallo Ex. 9)
     5                i. Exhibit 9 (YNQE0001079-1081; Ranallo Ex. 14
     6                j. Exhibit 10 (YNQE 1872-1897; Ranallo Ex. 17)
     7                k. Exhibit 11 (Ranallo Ex. 7)
     8                l. Exhibit 12 (Five Fiberlash Products Produced by Plaintiff at
     9                   Stephanie Miller-Brun’s Deposition)
    10                m. Exhibit 13 (Fiberlash Product Produced by Plaintiff at Megan
    11                   Schmitt’s Deposition)
    12                n. Exhibit 14 (Product Ingredients List to Younique Employees)
    13

    14                   Evidence in support of UCL “Unlawful” Prong:
    15                a. Exhibit 1 (YNQE0000994; Ranallo Ex. 4)
    16                b. Exhibit 2 (YNQE0000731)
    17                c. Exhibit 3 (YNQE 1291-1296; Ranallo Ex. 8)
    18                d. Exhibit 4 (11.14 Younique Website Capture)
    19                e. Exhibit 5 (McFadden Report)
    20                f. Exhibit 6 (YNQE0001014-1018; Ranallo Ex. 15)
    21                g. Exhibit 7 (YNQE0001239-1240; Ranallo Ex. 5)
    22                h. Exhibit 8 (YNQE0001211; Ranallo Ex. 9)
    23                i. Exhibit 9 (YNQE0001079-1081; Ranallo Ex. 14
    24                j. Exhibit 10 (YNQE 1872-1897; Ranallo Ex. 17)
    25                k. Exhibit 11 (Ranallo Ex. 7)
    26                l. Exhibit 12 (Five Fiberlash Products Produced by Plaintiff at
    27                   Stephanie Miller-Brun’s Deposition)
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     1                 m. Exhibit 13 (Fiberlash Product Produced by Plaintiff at Megan
     2                     Schmitt’s Deposition)
     3                 n. Exhibit 14 (Product Ingredients List to Younique Employees)
     4

     5                     Evidence in Support of UCL “Fraudulent” Prong:
     6                 a. Exhibit 1 (YNQE0000994; Ranallo Ex. 4)
     7                 b. Exhibit 2 (YNQE0000731)
     8                 c. Exhibit 3 (YNQE 1291-1296; Ranallo Ex. 8)
     9                 d. Exhibit 4 (11.14 Younique Website Capture)
    10                 e. Exhibit 5 (McFadden Report)
    11                 f. Exhibit 6 (YNQE0001014-1018; Ranallo Ex. 15)
    12                 g. Exhibit 7 (YNQE0001239-1240; Ranallo Ex. 5)
    13                 h. Exhibit 8 (YNQE0001211; Ranallo Ex. 9)
    14                 i. Exhibit 9 (YNQE0001079-1081; Ranallo Ex. 14
    15                 j. Exhibit 10 (YNQE 1872-1897; Ranallo Ex. 17)
    16                 k. Exhibit 11 (Ranallo Ex. 7)
    17                 l. Exhibit 12 (Five Fiberlash Products Produced by Plaintiff at
    18                     Stephanie Miller-Brun’s Deposition)
    19                 m. Exhibit 13 (Fiberlash Product Produced by Plaintiff at Megan
    20                     Schmitt’s Deposition)
    21                 n. Exhibit 14 (Product Ingredients List to Younique Employees)
    22

    23                     Evidence in Support of UCL Causation Prong:
    24                     a. Testimony of Megan Schmitt
    25 Plaintiffs will seek attorney fees to the extent they are available by statute.

    26
    27 CLAIM THREE: Younique violated the California Consumers Legal Remedies

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     1 Act (CLRA), California Civil Code § 1750 et seq. This claim is brought by

     2 Megan Schmitt and the California Class Against Younique, LLC.

     3        The elements to establish Plaintiff’s claim under the CLRA are “unfair
     4 methods of competition and unfair or deceptive acts or practices undertaken by any

     5 person in a transaction intended to result or that results in the sale or lease of goods

     6 or services to any consumer.” Cal. Civ. Code § 1770(a). See Jury Instruction No.

     7 46.

     8

     9               i.     CLRA Element 1: Unfair or deceptive acts or practices.
    10 Plaintiff alleges that Younique violated three prongs of the CLRA:

    11                        1. Representing that Products have characteristics, uses, or
    12                           benefits that they do not have, in violation of section
    13                           1770(a)(5);
    14                        2. Representing that Products are of a particular standard,
    15                           quality, or grade when they are not, in violation of section
    16                           1770(a)(7); and
    17                        3. Advertising Products with the intent not to sell them as
    18                           advertised, in violation of section 1770(a)(9).
    19                      Evidence in Support of CLRA 1770 (a)(5) and (a)(7):
    20                    a. Exhibit 1 (YNQE0000994; Ranallo Ex. 4)
    21                    b. Exhibit 2 (YNQE0000731)
    22                    c. Exhibit 3 (YNQE 1291-1296; Ranallo Ex. 8)
    23                    d. Exhibit 4 (11.14 Younique Website Capture)
    24                    e. Exhibit 5 (McFadden Report)
    25                    f. Exhibit 6 (YNQE0001014-1018; Ranallo Ex. 15)
    26                    g. Exhibit 7 (YNQE0001239-1240; Ranallo Ex. 5)
    27                    h. Exhibit 8 (YNQE0001211; Ranallo Ex. 9)
    28
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  1                i. Exhibit 9 (YNQE0001079-1081; Ranallo Ex. 14
  2                j. Exhibit 10 (YNQE 1872-1897; Ranallo Ex. 17)
  3                k. Exhibit 11 (Ranallo Ex. 7)
  4                l. Exhibit 12 (Five Fiberlash Products Produced by Plaintiff at
  5                   Stephanie Miller-Brun’s Deposition)
  6                m. Exhibit 13 (Fiberlash Product Produced by Plaintiff at Megan
  7                   Schmitt’s Deposition)
  8                n. Exhibit 14 (Product Ingredients List to Younique Employees)
  9

 10                   Evidence in Support of (a)(9)
 11                a. Exhibit 1 (YNQE0000994; Ranallo Ex. 4)
 12                b. Exhibit 2 (YNQE0000731)
 13                c. Exhibit 3 (YNQE 1291-1296; Ranallo Ex. 8)
 14                d. Exhibit 4 (11.14 Younique Website Capture)
 15                e. Exhibit 5 (McFadden Report)
 16                f. Exhibit 6 (YNQE0001014-1018; Ranallo Ex. 15)
 17                g. Exhibit 7 (YNQE0001239-1240; Ranallo Ex. 5)
 18                h. Exhibit 8 (YNQE0001211; Ranallo Ex. 9)
 19                i. Exhibit 9 (YNQE0001079-1081; Ranallo Ex. 14)
 20                j. Exhibit 10 (YNQE 1872-1897; Ranallo Ex. 17)
 21                k. Exhibit 11 (Ranallo Ex. 7)
 22                l. Exhibit 12 (Five Fiberlash Products Produced by Plaintiff at
 23                   Stephanie Miller-Brun’s Deposition)
 24                m. Exhibit 13 (Fiberlash Product Produced by Plaintiff at Megan
 25                   Schmitt’s Deposition)
 26                n. Exhibit 14 (Product Ingredients List to Younique Employees)
 27

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  1              ii.    CLRA Element 2: Causation
  2                     Evidence in support of CLRA Causation
  3                     a. Testimony of Megan Schmitt
  4                     b. Exhibit 16 (Report of Don May)
  5                     c. Exhibit 1 (YNQE0000994; Ranallo Ex. 4)
  6                     d. Exhibit 2 (YNQE0000731)
  7                     e. Exhibit 3 (YNQE 1291-1296; Ranallo Ex. 8)
  8                     f. Exhibit 4 (11.14 Younique Website Capture)
  9                     g. Exhibit 8 (YNQE0001211; Ranallo Ex. 9)
 10                     h. Exhibit 12 (Five Fiberlash Products Produced by Plaintiff at
 11                         Stephanie Miller-Brun’s Deposition)
 12                     i. Exhibit 13 (Fiberlash Product Produced by Plaintiff at
 13                         Megan Schmitt’s Deposition)
 14

 15              iii.   CLRA Element 3: Damages
 16                     Evidence In support of CLRA Damages
 17                     a. Testimony of Megan Schmitt
 18                     b. Exhibit 16 (Expert Report and testimony of Don May)
 19                     c. Exhibit 30 (YNQE0000345 (sales data))
 20

 21 Plaintiffs will seek attorney fees to the extent they are available by statute.

 22

 23 CLAIM FOUR: Younique breached its express warranty under Ohio Rev.

 24 Code § 1302.26. This claim is brought by Stephanie Miller Brun and the Ohio

 25 Class Against Younique, LLC

 26        Elements of Ohio Express Warranty: 1. Existence of Warranty; 2. Goods did
 27 not comply with warranty; and 3. Failure to comply with warranty caused damage.

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  1 See Jury Instruction No. 50.

  2

  3              i. Ohio Express Warranty Element 1: Existence of Express
  4                     Warranty
  5                     Evidence in Support
  6                        a. Exhibit 1 (YNQE0000994; Ranallo Ex. 4)
  7                        b. Exhibit 2 (YNQE0000731)
  8                        c. Exhibit 3 (YNQE 1291-1296; Ranallo Ex. 8)
  9                        d. Exhibit 4 (11.14 Younique Website Capture)
 10                        e. Exhibit 8 (YNQE0001211; Ranallo Ex. 9)
 11                        f. Exhibit 12 (Five Fiberlash Products Produced by Plaintiff at
 12                           Stephanie Miller-Brun’s Deposition)
 13                       g. Exhibit 13 (Fiberlash Product Produced by Plaintiff at Megan
 14                       Schmitt’s Deposition)
 15

 16              ii. Ohio Express Warranty Element 2: Goods did not comply with
 17                     Warranty
 18                       Evidence in Support
 19                     a. Exhibit 5 (McFadden Report)
 20                     b. Exhibit 6 (YNQE0001014-1018; Ranallo Ex. 15)
 21                     c. Exhibit 7 (YNQE0001239-1240; Ranallo Ex. 5)
 22

 23              iii.     Ohio Express Warranty Element 3: Failure to comply caused
 24                       injury
 25                       Evidence in Support of Causation Prong:
 26                       a. Testimony of Stephanie Miller Brun
 27

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                                  #:6771



  1                    Evidence in Support of Injury Prong:
  2                    a. Testimony of Stephanie Miller Brun
  3                    b. Exhibit 16 (Expert Report of Don May)
  4                    c. Exhibit 30 (YNQE0000345 (sales data))
  5                    d. Exhibits 18-34 (Receipt(s))
  6

  7 CLAIM FIVE: Younique breached its implied warranty under Ohio Rev. Code

  8 § 1302.27(6). This claim is brought by Stephanie Miller Brun and the Ohio

  9 Class Against Younique, LLC.

 10        Elements of Ohio Breach of Implied Warranty: Existence of Promises or
 11 Affirmations of Fact, Falsity of Promises or Affirmations of Fact, and Damages.

 12 See Jury Instruction No. 49.

 13

 14                    i. Ohio Implied Warranty Element 1: Existence of Promises
 15                       or Affirmations of Fact
 16                       Evidence in Support
 17                     a. Exhibit 1 (YNQE0000994; Ranallo Ex. 4)
 18                     b. Exhibit 2 (YNQE0000731)
 19                     c. Exhibit 3 (YNQE 1291-1296; Ranallo Ex. 8)
 20                     d. Exhibit 4 (11.14 Younique Website Capture)
 21                     e. Exhibit 8 (YNQE0001211; Ranallo Ex. 9)
 22                     f. Exhibit 12 (Five Fiberlash Products Produced by Plaintiff at
 23                        Stephanie Miller-Brun’s Deposition)
 24                     g. Exhibit 13 (Fiberlash Product Produced by Plaintiff at
 25                        Megan Schmitt’s Deposition)
 26
 27                    ii. Ohio Implied Warranty Element 2: Falsity of Promises or
 28
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                                  #:6772



  1                        Affirmations of Fact
  2                           Evidence in Support
  3                        a. Exhibit 5 (McFadden Report)
  4                        b. Exhibit 6 (YNQE0001014-1018; Ranallo Ex. 15)
  5                        c. Exhibit 7 (YNQE0001239-1240; Ranallo Ex. 5)
  6                        d. Exhibit 9 (YNQE0001079-1081; Ranallo Ex. 14)
  7                        e. Exhibit 12 (Five Fiberlash Products Produced by Plaintiff
  8                           at Stephanie Miller-Brun’s Deposition)
  9                        f. Exhibit 13 (Fiberlash Product Produced by Plaintiff at
 10                           Megan Schmitt’s Deposition)
 11

 12              iii.   Ohio Implied Warranty Element 3: Causation and Injury
 13                     Evidence in Support of Ohio Implied Warranty Causation
 14                     Prong
 15                     a. Testimony of Stephanie Miller Brun
 16

 17                     Evidence in Support of Ohio Implied Warranty Injury Prong
 18                     a. Testimony of Stephanie Miller Brun
 19                     b. Exhibit 16 (Expert Report and testimony of Don May)
 20                     c. Exhibit 30 (YNQE0000345 (sales data))
 21                     d. Exhibits 18-34 (Receipt(s))
 22

 23 CLAIM SIX: Younique breached the federal Magnusson-Moss Warranty Act,

 24 15 U.S.C. § 2301 et seq. This claim is brought by Stephanie Miller Brun and the

 25 Ohio Class Against Younique, LLC.

 26 See Jury Instruction No. 52.; Clemens v. DaimlerChrysler Corp., 534 F.3d 1017,
 27 1022 (9th Cir. 2008) (“[T]he claims under the Magnuson–Moss Act stand or fall

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  1 with his express and implied warranty claims under state law.”).

  2                      Evidence in Support
  3                      a. Exhibit 1 (YNQE0000994; Ranallo Ex. 4)
  4                      b. Exhibit 2 (YNQE0000731)
  5                      c. Exhibit 3 (YNQE 1291-1296; Ranallo Ex. 8)
  6                      d. Exhibit 4 (11.14 Younique Website Capture)
  7                      e. Exhibit 8 (YNQE0001211; Ranallo Ex. 9)
  8                      f. Exhibit 5 (McFadden Report)
  9                      g. Exhibit 6 (YNQE0001014-1018; Ranallo Ex. 15)
 10                      h. Exhibit 7 (YNQE0001239-1240; Ranallo Ex. 5)
 11                      i. Testimony of Stephanie Miller Brun
 12                      j. Exhibit 16 (Expert Report and testimony of Don May)
 13                      k. Exhibits 18-34 ((Receipt(s))
 14                      l. Exhibit 9 (YNQE0001079-1081; Ranallo Ex. 14)
 15                      m. Exhibit 12 (Five Fiberlash Products Produced by Plaintiff at
 16                         Stephanie Miller-Brun’s Deposition)
 17                      n. Exhibit 13 (Fiberlash Product Produced by Plaintiff at Megan
 18                      Schmitt’s Deposition)
 19                      o. Exhibit 30 (YNQE0000345 (sales data))
 20

 21 Plaintiffs will seek attorney fees to the extent they are available by statute.

 22

 23                    Younique’s Defenses and Evidence in Support
 24 Third Affirmative Defense: Statute of Limitations. Plaintiffs’ purported claims

 25 are barred, in whole or in part, to the extent Plaintiffs seek relief for any purported

 26 claims, on their own behalf or on behalf of others, that were not brought before the
 27 expiration of the applicable statute of limitations, including but not limited to:

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  1 California Business and Professions Code section 17208 (4 years); California Civil

  2 Code section 1783 (3 years); Fla. Stat. section 501.207 (4 years); Ohio Rev. Code

  3 sections 1302.98 (4 years). See also Jury Instruction No. 55.

  4        Evidence in support:
  5        (1) Exhibit 30 (YNQE0000345 (sales data))
  6        (2) Schmitt’s testimony
  7        (3) Exhibit 17 (Reilly’s receipt)
  8        (4) Exhibit 31 (Brun’s receipt dated November 18, 2014)
  9

 10 Fourth Affirmative Defense: Lack of Standing.

 11        Article III Standing. To establish standing under Article III, the plaintiff
 12 must show: (1) injury in fact; (2) causation; and (3) redressability. Lujan v.

 13 Defenders of Wildlife, 504 U.S. 555, 560-61 (1992). To establish an injury in fact, a

 14 plaintiff must demonstrate the “invasion of a legally protected interest which is (a)

 15 concrete and particularized; and (b) actual or imminent, not conjectural or

 16 hypothetical.” Id. at 560 (internal cites omitted). “By particularized,” it is meant

 17 “that the injury must affect the plaintiff in a personal and individual way.” Id. at

 18 560 n.1.
 19        Evidence in support:
 20        (a) Schmitt’s testimony
 21        (b) Brun’s testimony
 22        (c) Reilly’s testimony
 23        (d) Phillips’ testimony
 24        (e) Exhibits 77, 79, 80, 82, 83 (Orlowsky Depo Exs. 70, 74, 75, 77, 78)
 25        (f) Exhibits 56-68 (Brun Depo Exs. 57-60)
 26
 27        California’s Unfair Competition Law. Only a “person who has suffered
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  1 injury in fact and has lost money or property as a result of” a UCL violation may

  2 bring an action for violation. Cal. Bus. & Prof. Code §§ 17204. The phrase “as a

  3 result of” means “caused by” and “requires a showing of a causal connection or

  4 reliance on the alleged misrepresentation,” as “reliance is the causal mechanism of

  5 fraud.” Kwikset Corp. v. Super. Ct., 51 Cal.4th 310, 326 (2011) (internal cites

  6 omitted). Reliance is proved by showing that the defendant's misrepresentation or

  7 nondisclosure was “an immediate cause” of the plaintiff's injury-producing conduct.

  8 In re Tobacco II Cases, 46 Cal.4th 298, 326 (2009). A plaintiff may establish that

  9 the defendant's misrepresentation is an “immediate cause” of the plaintiff's conduct

 10 by showing that in its absence the plaintiff “in all reasonable probability” would not

 11 have engaged in the injury-producing conduct. Id.

 12        Evidence in support:
 13        (a) Schmitt’s testimony
 14

 15        California’s Consumers Legal Remedies Act. Consumers “seeking to
 16 recover damages under the CLRA based on a fraud theory must prove actual

 17 reliance on the misrepresentation and harm.” Sateriale v. R.J. Reynolds Tobacco

 18 Co., 697 F.3d 777, 793-94 (9th Cir. 2012); accord, Kwikset, 51 Cal.4th at 326-27.
 19 “Actual reliance” means that the “misrepresentation was an immediate cause of the

 20 injury-producing conduct.” Kwikset, 51 Cal.4th at 326-27.

 21        Evidence in support:
 22        (a) Schmitt’s testimony
 23

 24        Florida’s Deceptive And Unfair Trade Practices Act. To establish a claim
 25 under the FDUTPA, there must be “(1) a deceptive act or unfair practice; (2)

 26 causation; and (3) actual damages.” Rollins, Inc. v. Butland, 951 So.2d 860, 869
 27 (Fla. Dist. Ct. App. 2006). There must be “probable, not possible, deception” that is

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  1 “likely to cause injury to a reasonable relying consumer.” Zlotnick v. Premier Sales

  2 Group, Inc., 480 F.3d 1281, 1284 (11th Cir. 2007).

  3        Evidence in support:
  4        (a) Reilly’s testimony
  5

  6        Ohio Express Warranty Law. Ohio express warranty law requires “(1) a
  7 warranty existed; (2) the product failed to perform as warranted; (3) plaintiff

  8 provided the defendant with reasonable notice of the defect; and (4) plaintiff

  9 suffered injury as a result of the defect.” Caterpillar Fin. Servs. Corp. v. Harold

 10 Tatman & Son's, Enters., 2015-Ohio-4884, 11 (Ct. App. 2015). Representations

 11 may become a warranty if they are “the basis for the bargain.” O.R.C. Ann. §

 12 1302.26; Bobb Forest Prods. v. Morbark Indus., 151 Ohio App. 3d 63, 81 (Ct. App.

 13 2002).

 14        Evidence in support:
 15        (a) Brun’s testimony
 16

 17        Ohio Implied Warranty Law. Ohio implied warranty law requires, “not
 18 only the existence of the warranty but the fact that the warranty was broken and that
 19 the breach of the warranty was the proximate cause of the loss sustained.” Taylor v.

 20 Boardman Twp. Local Sch. Dist. Bd. of Educ., 2009-Ohio-6528, *25 (Ct. App.

 21 2009).

 22        Evidence in support:
 23        (a) Brun’s testimony
 24

 25 Fifth Affirmative Defense: Compliance with Statutes, Regulations, and/or

 26 Industry Standards. To the extent that Younique engaged in any of the activities
 27 alleged in this Pretrial Conference Order, those activities were in compliance with,

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  1 and pursuant to, statutes, government regulations and/or industry standards in

  2 existence at the time of the activities.

  3        Evidence in support:
  4        (a) Exhibits 28, 91-99 (purchase orders and product reference libraries)
  5        (b) Exhibit 119 (Senos manufacturing agreement)
  6

  7 Twelfth Affirmative Defense: Laches. A party asserting a laches, “must show

  8 that it suffered prejudice as a result of the plaintiffs’ unreasonable delay in filing

  9 suit.” Jarrow Formulas, Inc. v. Nutrition Now, Inc., 304 F.3d 829, 835 (9th Cir.

 10 2002).

 11        Evidence in support:
 12        (a) Schmitt’s testimony
 13        (b) Brun’s testimony
 14        (c) Reilly’s testimony
 15        (d) Orlowsky’s testimony
 16        (e) Ranallo’s testimony
 17

 18 Fourteenth Affirmative Defense: Unjust Enrichment. The elements for a claim
 19 of unjust enrichment are (1) receipt of a benefit and (2) unjust retention of the

 20 benefit at the expense of another. Lectrodryer v. Seoulbank, 77 Cal.App.4th 723,

 21 726 (2000); accord, Media Services Group, Inc. v. Bay Cities Comm., Inc., 237 F.3d

 22 1326, 1330-31 (11th Cir. 2001).

 23        Evidence in support:
 24        (a) Brun’s testimony
 25        (b) Reilly’s testimony
 26        (c) Orlowsky’s testimony
 27        (d) Phillips’ testimony
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  1        (e) Exhibits 77, 79, 80, 82, 83 (Orlowsky Depo Exs. 70, 74, 75, 77, 78)
  2        (f) Exhibits 65-68 (Brun Depo Exs. 57-60 (the presenter agreements))
  3        (g) Exhibits 18-26, 31 (Brun’s receipts)
  4        (h) Exhibit 69 (Orlowsky’s receipts)
  5        (i) Exhibit 17 (Reilly’s receipt)
  6        (j) Schmitt’s testimony
  7

  8 Fifteenth Affirmative Defense: Offset. “[E]ither party to a transaction involving

  9 mutual debts and credits can strike a balance, holding himself owing or entitled only

 10 to the net difference.” Garg v. People ex rel. State Bd. of Equalization, 53

 11 Cal.App.4th 199, 211-12 (1997) (citing Jess v. Herrmann, 26 Cal.3d 131, 142

 12 (1979)).

 13        Evidence in support:
 14        (a) Brun’s testimony
 15        (b) Reilly’s testimony
 16        (c) Orlowsky’s testimony
 17        (d) Phillips’ testimony
 18        (e) Exhibits 77, 79, 80, 82, 83 (Orlowsky Depo Exs. 70, 74, 75, 77, 78)
 19        (f) Exhibits 65-68 (Brun Depo Exs. 57-60 (the presenter agreements))
 20        (g) Exhibits 18-26, 31 (Brun’s receipts)
 21        (h) Exhibit 69 (Orlowsky’s receipts)
 22        (i) Exhibit 17 (Reilly’s receipt)
 23        (j) Schmitt’s testimony
 24

 25 Prayer For Attorneys’ Fees. If Younique is the prevailing party, Younique

 26 contends it is entitled to its attorney’s fees and costs. Fla. Stat. § 501.2105.
 27 Younique further contends that the claims asserted by Plaintiffs are not brought in

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  1 good faith, thereby entitling Younique to an award of its reasonable attorneys’ fees

  2 under the CLRA. Cal. Civ. Code 1780(e).

  3

  4 8.     In view of the admitted facts and the elements required to establish the
  5        claims and affirmative defenses, the following issues remain to be tried:
  6        I. The parties agree that the following issues remain to be tried:
  7        A. Whether Plaintiff Schmitt relied on the “Natural Fibers” and “100%
  8           Natural Green Tea Fibers” representations on the Moodstruck 3D Fiber
  9           Lash label or Younique’s website in making her purchasing decision.
 10        B. Whether Plaintiff Brun relied on the “Natural Fibers” and “100% Natural
 11           Green Tea Fibers” representations on the Moodstruck 3D Fiber Lash label
 12           or Younique’s website in making her purchasing decision.
 13        C. Whether Plaintiff Reilly relied on the “Natural Fibers” and “100% Natural
 14           Green Tea Fibers” representations on the Moodstruck 3D Fiber Lash label
 15           or Younique’s website in making her purchasing decision.
 16        D. Whether Class Members relied on the “Natural Fibers” and “100% Natural
 17           Green Tea Fibers” representations on the Moodstruck 3D Fiber Lash label
 18           or Younique’s website in making their purchasing decisions.
 19        E. If Plaintiff Schmitt was damaged, what is the difference between what she
 20           paid for the Younique Moodstruck 3D Fiber Lashes and the value of the
 21           Younique Moodstruck 3D Fiber Lashes as received.
 22        F. If Plaintiff Brun was damaged, what is the difference between what she
 23           paid for the Younique Moodstruck 3D Fiber Lashes and the value of the
 24           Younique Moodstruck 3D Fiber Lashes as received.
 25        G. If Plaintiff Reilly was damaged, what is the difference between what she
 26           paid for the Younique Moodstruck 3D Fiber Lashes and the value of the
 27           Younique Moodstruck 3D Fiber Lashes as received.
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  1       H. If Class Members were damaged, what is the difference between what the
  2          Class Members paid for the Younique Moodstruck 3D Fiber Lashes and
  3          the value of the Younique Moodstruck 3D Fiber Lashes as received.
  4       I. Younique products are only sold online and/or through independent
  5          contractors (called “Presenters”), and not in stores.
  6       J. Presenters receive commissions based on the volume of sales achieved.
  7          Commissions range between 20-30%. A presenter can also earn a
  8          commission of 3-6% based on the sales the presenter and her downline
  9          generate.
 10       K. Presenters earn commissions on all of their purchases, including their
 11          personal purchases, except for when they use half-price coupons.
 12       L. “Y cash” and half-price coupons are rewards that Younique offers to
 13          anyone who hosts an online “party.” The host receives points based on the
 14          number of sales that are made at the party, and the points total translates to
 15          a dollar amount of Y cash. The host can use Y cash in conjunction with
 16          any future purchase to reduce the cost of the purchase. Hosts can also earn
 17          half-price coupons, which are applied to future product purchases to
 18          reduce the cost of those purchases. Half-price coupons are issued for
 19          future purchase of a single item.
 20       M. When a customer applies a half-price coupon, the discount applies to a
 21          single product.
 22       N. When a customer applies Y cash, the Y cash reduces the total cost of all
 23          items in the shopping cart. If a customer has enough Y cash, the customer
 24          can reduce the total cost of the purchase to $0.
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  1       II. Plaintiff contends that the following issues remain to be tried:
  2       O. Whether the “Natural Fibers” and “100% Natural Green Tea Fibers”
  3          representations on the label or website or social media of the Moodstruck
  4          3D Fiber Lashes falsely represented the ingredients of the fiber lash
  5          component of the product.
  6       P. Whether the “Natural Fibers” and “100% Natural Green Tea Fibers”
  7          representations on the Moodstruck 3D Fiber Lash label or website or
  8          social media was material to Plaintiff Schmitt when she made her
  9          purchasing decision.
 10       Q. Whether the “Natural Fibers” and “100% Natural Green Tea Fibers”
 11          representations on the Moodstruck 3D Fiber Lash label or website or
 12          social media was material to Plaintiff Brun when she made her purchasing
 13          decision.
 14       R. Whether the “Natural Fibers” and “100% Natural Green Tea Fibers”
 15          representations on the Moodstruck 3D Fiber Lash label or website or
 16          social media was material to Plaintiff Reilly when she made her
 17          purchasing decision.
 18       S. Whether the “Natural Fibers” and “100% Natural Green Tea Fibers”
 19          representations on the Moodstruck 3D Fiber Lash label or website or
 20          social media was material to Class Members when they made their
 21          purchasing decision.
 22       T. Whether a reasonable consumer would have been deceived by the “Natural
 23          Fibers” and “100% Natural Green Tea Fibers” representations on the
 24          Moodstruck 3D Fiber Lash label or website or social media.
 25       U. Whether the “Natural Fibers” and “100% Natural Green Tea Fibers”
 26          representations on the Moodstruck 3D Fiber Lash label or website or
 27          social media caused Plaintiff Schmitt the asserted harm.
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  1       V. Whether the “Natural Fibers” and “100% Natural Green Tea Fibers”
  2          representations on the Moodstruck 3D Fiber Lash label or website or
  3          social media caused Plaintiff Brun the asserted harm.
  4       W. Whether the “Natural Fibers” and “100% Natural Green Tea Fibers”
  5          representations on the Moodstruck 3D Fiber Lash label or website or
  6          social media caused Plaintiff Reilly the asserted harm.
  7       X. Whether the “Natural Fibers” and “100% Natural Green Tea Fibers”
  8          representations on the Moodstruck 3D Fiber Lash label or website or
  9          social media caused the Class Members the asserted harm.
 10       Y. Whether the “Natural Fibers” and “100% Natural Green Tea Fibers”
 11          representations on the Moodstruck 3D Fiber Lash label or website or
 12          social media became a basis for the bargain for Plaintiff Brun.
 13       Z. Whether the “Natural Fibers” and “100% Natural Green Tea Fibers”
 14          representations on the Moodstruck 3D Fiber Lash label or website or
 15          social media became a basis for the bargain for the Ohio Class.
 16       AA. Whether the “Natural Fibers” and “100% Natural Green Tea Fibers”
 17          representations on the Moodstruck 3D Fiber Lash label or website or
 18          social media was the cause of damage Plaintiffs and the Class Members.
 19       BB. Deana Reilly saw the “Natural Fibers” and “100% Natural Green Tea
 20          Fibers” representations before she purchased the Younique Moodstruck
 21          3D Fiber Lashes.
 22       CC. Megan Schmitt saw the “Natural Fibers” and “100% Natural Green Tea
 23          Fibers” representations before she purchased the Younique Moodstruck
 24          3D Fiber Lashes.
 25       DD. Megan Schmitt saw the “Natural Fibers” and “100% Natural Green Tea
 26          Fibers” representations before she purchased the Younique Moodstruck
 27          3D Fiber Lashes.
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  1       EE.   Stephanie Miller Brun saw the “Natural Fibers” and “100% Natural
  2          Green Tea Fibers” representations before she purchased the Younique
  3          Moodstruck 3D Fiber Lashes.
  4       FF.   Stephanie Miller Brun purchased the Younique Moodstruck 3D Fiber
  5          Lashes on November 14, 2014 for personal use.
  6       GG. Stephanie Miller Brun purchased other Younique Moodstruck 3D Fiber
  7          Lashes on other dates for personal use.
  8       HH. The “Natural Fibers” and “100% Natural Green Tea Fibers” language
  9          was an important factor in Deana Reilly’s purchase decision.
 10       II. The “Natural Fibers” and “100% Natural … Fibers” language was an
 11          important factor in Megan Schmitt’s purchase decision.
 12       JJ. Deana Reilly believes the Younique Moodstruck 3D Fiber Lashes she
 13          bought was worth less than what she paid for it.
 14       KK. Megan Schmitt believes the Younique Moodstruck 3D Fiber Lashes
 15          she bought was worth less than what she paid for it.
 16       LL.   Stephanie Miller Brun believes the Younique Moodstruck 3D Fiber
 17          Lashes she bought was worth less than what she paid for it.
 18       MM. The Younique Moodstruck 3D Fiber Lashes made Megan Schmitt’s
 19          eyes water.
 20       NN. Stephanie Miller Brun purchased Younique Moodstruck 3D Fiber
 21          Lashes for personal use on November 18, 2014 and on multiple other
 22          occasions.
 23       OO. Whether Stephanie Miller Brun paid $29 for the Moodstruck 3D Fiber
 24          Lashes.
 25       PP.   Whether Younique represented on the label of the Younique
 26          Moodstruck 3D Fiber Lashes that the fibers were “Natural Fibers” and
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  1          were composed of either “100% Natural Green Tea Fibers taken from
  2          Campanulaceae of Green Tea” or “100% Natural Green Tea Fibers.”
  3       QQ. Whether the following are accurate representations of the Moodstruck
  4          3D Fiber Lashes labels:
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  1       RR. Younique stated that the fibers in the Younique Moodstruck 3D Fiber
  2          Lashes were “Natural Fibers” and composed of “100% Natural Green Tea
  3          Fibers” on its website.
  4       SS.   Purchasers of the Moodstruck 3D Fiber Lashes had to place their orders
  5          for the Moodstruck 3D Fiber Lashes through Younique’s website.
  6       TT.   Melanie Huscroft is the co-founder and Vice President of Marketing
  7          and Sales of Younique.
  8       UU. In January 2014, Younique learned through an email from its Chinese
  9          vendor forwarded to Melanie Huscroft, the co-founder and Vice President
 10          of Marketing and Sales of Younique, that the product was composed of
 11          “polyvinyl alcohol fiber” rather than natural green tea fibers. Despite
 12          learning this, Younique continued to sell the product with the same
 13          “Natural Fibers” and “100% natural green tea fibers” representations
 14          through July of 2015.
 15       VV. A reasonable consumer would not consider nylon or plastic to be
 16          “natural.”
 17       III. Defendant contends that the following issues remain to be tried:
 18       WW. Whether the “Natural Fibers” and “100% Natural Green Tea Fibers”
 19          representations on the label of the Moodstruck 3D Fiber Lashes falsely
 20          represented the ingredients of the fiber lash component of the product.
 21       XX. Whether the “Natural Fibers” and “100% Natural Green Tea Fibers”
 22          representations on the Moodstruck 3D Fiber Lash label was material to
 23          Plaintiff Schmitt when she made her purchasing decision.
 24       YY. Whether the “Natural Fibers” and “100% Natural Green Tea Fibers”
 25          representations on the Moodstruck 3D Fiber Lash label was material to
 26          Plaintiff Brun when she made her purchasing decision.
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  1       ZZ.   Whether the “Natural Fibers” and “100% Natural Green Tea Fibers”
  2          representations on the Moodstruck 3D Fiber Lash label was material to
  3          Plaintiff Reilly when she made her purchasing decision.
  4       AAA. Whether the “Natural Fibers” and “100% Natural Green Tea Fibers”
  5          representations on the Moodstruck 3D Fiber Lash label was material to
  6          Class Members when they made their purchasing decision.
  7       BBB. Whether a reasonable consumer would have been deceived by the
  8          “Natural Fibers” and “100% Natural Green Tea Fibers” representations on
  9          the Moodstruck 3D Fiber Lash label.
 10       CCC. Whether the “Natural Fibers” and “100% Natural Green Tea Fibers”
 11          representations on the Moodstruck 3D Fiber Lash label caused Plaintiff
 12          Schmitt the asserted harm.
 13       DDD. Whether the “Natural Fibers” and “100% Natural Green Tea Fibers”
 14          representations on the Moodstruck 3D Fiber Lash label caused Plaintiff
 15          Brun the asserted harm.
 16       EEE. Whether the “Natural Fibers” and “100% Natural Green Tea Fibers”
 17          representations on the Moodstruck 3D Fiber Lash label caused Plaintiff
 18          Reilly the asserted harm.
 19       FFF. Whether the “Natural Fibers” and “100% Natural Green Tea Fibers”
 20          representations on the Moodstruck 3D Fiber Lash label caused the Class
 21          Members the asserted harm.
 22       GGG. Whether the “Natural Fibers” and “100% Natural Green Tea Fibers”
 23          representations on the Moodstruck 3D Fiber Lash label became a basis for
 24          the bargain for Plaintiff Brun.
 25       HHH. Whether the “Natural Fibers” and “100% Natural Green Tea Fibers”
 26          representations on the Moodstruck 3D Fiber Lash label became a basis for
 27          the bargain for the Ohio Class.
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  1        III. Whether the “Natural Fibers” and “100% Natural Green Tea Fibers”
  2           representations on the Moodstruck 3D Fiber Lash label damaged Plaintiffs
  3           and the Class Members.
  4 9.     Plaintiffs’ position is that since their motion seeking additional time for
  5        discovery based on Defendant’s failure to provide certain documents is still
  6        pending (Dkt. 68) discovery is not complete. Defendant states that discovery
  7        is closed, and, as to it being complete, contends that Plaintiffs and their
  8        expert, Dr. Donald M. May, Ph.D., did not comply with Rule 26 (Dkt. 146).
  9 10.    All disclosures under F.R.Civ.P 26(a)(3) have been made.
 10        The joint exhibit list of the parties are being contemporaneously filed under
 11 separate cover as required by L.R. 16-6.1. Unless all parties agree that an exhibit

 12 shall be withdrawn, all exhibits will be admitted without objection at trial except

 13 those exhibits listed below:

 14        Plaintiff objects to Exhibit Nos. 31-32, 34, 38, 39, 65-86, 88-106, 119, 121.
 15        Defendant objects to Exhibit Nos. 1-11, 14-16, 18-27, and 29-30.
 16                         Plaintiffs’ Objections To Exhibits:
 17   Ex. Description                                  Objections
      31 3/14/18; Plaintiffs' Response to Defendants Any alleged failure to produce
 18       Requests for Production Propounded to        documents in discovery is not
 19       Plaintiff Stephanie Miller Brun, Set No      an issue that is properly before
          One [Brun Dep Exh 2] Offered for limited the jury. Defendant has not
 20       purposes only to establish failure to        made any motion in limine for
 21       produce other discovery documents            a negative inference regarding
                                                       any failure to produce other
 22                                                    discovery documents.
 23   32 3/14/18; Letter with attachments from         Any alleged failure to produce
          Sultzer Law Group to Sheppard Mullin         documents in discovery is not
 24       transmitting plaintiffs’ discovery responses an issue that is properly before
 25       [Brun Dep Exh 3] Offered for limited         the jury. Defendant has not
          purposes only to establish failure to        made any motion in limine for
 26       produce other discovery documents            a negative inference regarding
 27                                                    any failure to produce other
                                                       discovery documents.
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  1   34   Lash Enhancer Photograph with Insert and    Any alleged failure to produce
           Packaging [Brun Dep Exh 8] Offered for      documents in discovery is not
  2        limited purpose only.                       an issue that is properly before
  3                                                    the jury. Defendant has not
                                                       made any motion in limine for
  4                                                    a negative inference regarding
  5                                                    any failure to produce other
                                                       discovery documents.
  6   38   3/14/18; Plaintiffs' Response to Defendants Any alleged failure to produce
  7        Special Interrogatories Propounded to       documents in discovery is not
           Plaintiff Stephanie Miller Brun, Set No     an issue that is properly before
  8        One [Brun Dep Exh 22] Offered for           the jury. Defendant has not
  9        limited purpose only.                       made any motion in limine for
                                                       a negative inference regarding
 10                                                    any failure to produce other
 11                                                    discovery documents.
      39   5/18/18; Plaintiffs' Response to Defendants Any alleged failure to produce
 12        Requests for Production Propounded to       documents in discovery is not
 13        Plaintiff Stephanie Miller Brun, Set No     an issue that is properly before
           Two [Brun Dep Exh 23] Offered for           the jury. Defendant has not
 14        limited purpose only.                       made any motion in limine for
 15                                                    a negative inference regarding
                                                       any failure to produce other
 16                                                    discovery documents..
 17   65   12/15/14; Younique Independent Presenter Object to relevance, even if
           Agreement Effective December 15, 2014       relevant more likely to lead to
 18
           [YNQE0000053-YNQE0000107] [Brun             prejudice, confusion or waste
 19        Dep Exh 57]                                 of time (FRE 403).
      66   9/20/16; Younique Independent Presenter     Object to relevance, even if
 20
           Agreement [YNQE0000001-                     relevant more likely to lead to
 21        YNQE0000052] [Brun Dep Exh 58]              prejudice, confusion or waste
                                                       of time (FRE 403).
 22
      67   The Younique Independent Presenter          Object to relevance, even if
 23        Agreement [YNQE0000108-                     relevant more likely to lead to
           YNQE0000145] [Brun Dep Exh 59]              prejudice, confusion or waste
 24
                                                       of time (FRE 403).
 25   68   The Younique Independent Presenter          Object to relevance, even if
 26
           Agreement [YNQE0000146-                     relevant more likely to lead to
           YNQE0000197] [Brun Dep Exh 60]              prejudice, confusion or waste
 27                                                    of time (FRE 403).
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  1   69   6/26/18; Email from Adam Gonnelli to       Object to relevance. Orlowsky
           Jonathan Moss and Sascha Henry             and all Tennessee claims are
  2        transmitting Orlowsky reciepts [Orlowsky   excluded. Further object to
  3        Dep Exh 61]                                lack of foundation, and that
                                                      even if relevant more likely to
  4                                                   lead to prejudice, confusion or
  5                                                   waste of time.
      70   1/27/15; Screen shot identified by         Object to relevance. Orlowsky
  6        Orlowsky as commissions [Orlowsky Dep      and all Tennessee claims are
  7        Exh 63]                                    excluded. Further object to
                                                      lack of foundation, and that
  8                                                   even if relevant more likely to
  9                                                   lead to prejudice, confusion or
                                                      waste of time.
 10   71   2/12/15; Orlowsky Instagram post           Object to relevance. Orlowsky
 11        [Orlowsky Dep Exh 64]                      and all Tennessee claims are
                                                      excluded. Further object to
 12                                                   lack of foundation, and that
 13                                                   even if relevant more likely to
                                                      lead to prejudice, confusion or
 14                                                   waste of time.
 15   72   4/22/15; Orlowsky Instagram post           Object to relevance. Orlowsky
           [Orlowsky Dep Exh 65]                      and all Tennessee claims are
 16
                                                      excluded. Further object to
 17                                                   lack of foundation, and that
                                                      even if relevant more likely to
 18
                                                      lead to prejudice, confusion or
 19                                                   waste of time.
      73   5/20/15; Orlowsky Instagram post           Object to relevance. Orlowsky
 20
           [Orlowsky Dep Exh 66]                      and all Tennessee claims are
 21                                                   excluded. Further object to
                                                      lack of foundation, and that
 22
                                                      even if relevant more likely to
 23                                                   lead to prejudice, confusion or
                                                      waste of time.
 24

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  1   74   6/3/15; Orlowsky Instagram post          Object to relevance. Orlowsky
           [Orlowsky Dep Exh 67]                    and all Tennessee claims are
  2                                                 excluded. Further object to
  3                                                 lack of foundation, and that
                                                    even if relevant more likely to
  4                                                 lead to prejudice, confusion or
  5                                                 waste of time.
      75   7/6/15; Orlowsky Instagram post          Object to relevance. Orlowsky
  6        [Orlowsky Dep Exh 68]                    and all Tennessee claims are
  7                                                 excluded. Further object to
                                                    lack of foundation, and that
  8                                                 even if relevant more likely to
  9                                                 lead to prejudice, confusion or
                                                    waste of time.
 10   76   7/7/15; Orlowsky Instagram post          Object to relevance. Orlowsky
 11        [Orlowsky Dep Exh 69]                    and all Tennessee claims are
                                                    excluded. Further object to
 12                                                 lack of foundation, and that
 13                                                 even if relevant more likely to
                                                    lead to prejudice, confusion or
 14                                                 waste of time.
 15   77   7/9/15; Orlowsky Instagram post          Object to relevance. Orlowsky
           [Orlowsky Dep Exh 70]                    and all Tennessee claims are
 16
                                                    excluded. Further object to
 17                                                 lack of foundation, and that
                                                    even if relevant more likely to
 18
                                                    lead to prejudice, confusion or
 19                                                 waste of time.
      78   8/5/15; Orlowsky Instagram post          Object to relevance. Orlowsky
 20
           [Orlowsky Dep Exh 73]                    and all Tennessee claims are
 21                                                 excluded. Further object to
                                                    lack of foundation, and that
 22
                                                    even if relevant more likely to
 23                                                 lead to prejudice, confusion or
                                                    waste of time.
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  1   79   8/6/15; Orlowsky Instagram post          Object to relevance. Orlowsky
           [Orlowsky Dep Exh 74]                    and all Tennessee claims are
  2                                                 excluded. Further object to
  3                                                 lack of foundation, and that
                                                    even if relevant more likely to
  4                                                 lead to prejudice, confusion or
  5                                                 waste of time.
      80   8/8/15; Orlowsky Instagram post          Object to relevance. Orlowsky
  6        [Orlowsky Dep Exh 75]                    and all Tennessee claims are
  7                                                 excluded. Further object to
                                                    lack of foundation, and that
  8                                                 even if relevant more likely to
  9                                                 lead to prejudice, confusion or
                                                    waste of time.
 10   81   8/8/15; Orlowsky Instagram post          Object to relevance. Orlowsky
 11        [Orlowsky Dep Exh 76]                    and all Tennessee claims are
                                                    excluded. Further object to
 12                                                 lack of foundation, and that
 13                                                 even if relevant more likely to
                                                    lead to prejudice, confusion or
 14                                                 waste of time.
 15   82   10/4/15; Orlowsky Instagram post         Object to relevance. Orlowsky
           [Orlowsky Dep Exh 77]                    and all Tennessee claims are
 16
                                                    excluded. Further object to
 17                                                 lack of foundation, and that
                                                    even if relevant more likely to
 18
                                                    lead to prejudice, confusion or
 19                                                 waste of time.
      83   10/14/15; Orlowsky Instagram post        Object to relevance. Orlowsky
 20
           [Orlowsky Dep Exh 78]                    and all Tennessee claims are
 21                                                 excluded. Further object to
                                                    lack of foundation, and that
 22
                                                    even if relevant more likely to
 23                                                 lead to prejudice, confusion or
                                                    waste of time.
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  1   84   11/13/14; Orlowsky Instagram post          Object to relevance. Orlowsky
           [Orlowsky Dep Exh 79]                      and all Tennessee claims are
  2                                                   excluded. Further object to
  3                                                   lack of foundation, and that
                                                      even if relevant more likely to
  4                                                   lead to prejudice, confusion or
  5                                                   waste of time.
      85   12/7/14; Orlowsky Instagram post           Object to relevance. Orlowsky
  6        [Orlowsky Dep Exh 80]                      and all Tennessee claims are
  7                                                   excluded. Further object to
                                                      lack of foundation, and that
  8                                                   even if relevant more likely to
  9                                                   lead to prejudice, confusion or
                                                      waste of time.
 10   86   8/27/12; Email from Siz Plus to Melanie    Incomplete document, no
 11        Huscroft [YNQE001153-YNQE0001173]          objections if redactions
                                                      removed.
 12   88   9/23/13; Younique purchase order to Six    Incomplete document, no
 13        Plus Trade Co [YNQE0002255-                objections if redactions
           YNQE0002255] [Ranallo’s PMK Dep            removed.
 14        Binder]
 15   89   10/28/13; Younique purchase order to Six   Incomplete document, no
           Plus Trade Co [YNQE0002330-                objections if redactions
 16
           YNQE0002333] [Ranallo’s PMK Dep            removed.
 17        Binder]
      90   11/8/13; Younique purchase order to Six    Incomplete document, no
 18
           Plus Trade Co [YNQE0002155-                objections if redactions
 19        YNQE0002158] [Ranallo’s PMK Dep            removed.
           Binder]
 20
      91   11/12/13; Younique purchase order to       Incomplete document, no
 21        Senos Marketing Limited                    objections if redactions
           [YNQE0002306-YNQE0002309]                  removed.
 22
           [Ranallo’s PMK Dep Binder]
 23   92   11/12/13; Younique purchase order to       Incomplete document, no
 24
           Senos Marketing Limited                    objections if redactions
           [YNQE0002310-YNQE0002313]                  removed.
 25        [Ranallo’s PMK Dep Binder]
 26   93   11/25/13; Younique purchase order to       Incomplete document, no
           Senos Marketing Limited                    objections if redactions
 27        [YNQE0002249-YNQE0002252]                  removed.
 28        [Ranallo’s PMK Dep Binder]
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  1   94  11/25/13; Younique purchase order to          Incomplete document, no
          Senos Marketing Limited                       objections if redactions
  2       [YNQE0002284-YNQE0002287]                     removed.
  3       [Ranallo’s PMK Dep Binder]
      95 11/25/13; Younique purchase order to           Incomplete document, no
  4       Senos Marketing Limited                       objections if redactions
  5       [YNQE0002297-YNQE0002300]                     removed.
          [Ranallo’s PMK Dep Binder]
  6   96 11/25/13; Younique purchase order to           Incomplete document, no
  7       Senos Marketing Limited                       objections if redactions
          [YNQE0002169-YNQE0002172]                     removed.
  8       [Ranallo’s PMK Dep Binder]
  9   97 12/16/13; Younique purchase order to           Incomplete document, no
          Senos Marketing Limited                       objections if redactions
 10       [YNQE0002916-YNQE0002919]                     removed.
 11       [Ranallo’s PMK Dep Binder]
      98 12/16/13; Younique purchase order to           Incomplete document, no
 12       Senos Marketing Limited                       objections if redactions
 13       [YNQE0002090-YNQE0002093]                     removed.
          [Ranallo’s PMK Dep Binder]
 14
      99 12/16/13; Younique purchase order to           Incomplete document, no
 15       Senos Marketing Limited                       objections if redactions
          [YNQE0002179-YNQE0002182]                     removed.
 16
          [Ranallo’s PMK Dep Binder]
 17   100 3/14/18; Plaintiffs' Response to Defendants   Any alleged failure to produce
          Requests for Production Propounded to        documents in discovery is not
 18
          Plaintiff Deana Reilly, Set No. One [Reilly  an issue that is properly before
 19       Dep Exh 97] Offered for limited purpose      the jury. Defendant has not
                                                       made any motion in limine for
 20
                                                       a negative inference regarding
 21                                                    any failure to produce other
                                                       discovery documents.
 22
      101 5/18/18; Plaintiffs' Response to Defendant's Any alleged failure to produce
 23       Requests for Production Propounded to        documents in discovery is not
 24
          Plaintiff Deana Reilly, Set No. Two          an issue that is properly before
          [Reilly Dep Exh 98] Offered for limited      the jury. Defendant has not
 25       purpose                                      made any motion in limine for
 26
                                                       a negative inference regarding
                                                       any failure to produce other
 27                                                    discovery documents..
 28
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  1   102 3/14/18; Plaintiffs' Response to Defendants  Plaintiffs’ Objection: Any
          Special Interrogatories Propounded to        alleged failure to produce
  2       Plaintiff Deana Reilly, Set No. One          documents in discovery is not
  3       [Reilly Dep Exh 99] Offered for limited      an issue that is properly before
          purpose                                      the jury. Defendant has not
  4                                                    made any motion in limine for
  5                                                    a negative inference regarding
                                                       any failure to produce other
  6                                                    discovery documents.
  7   103 2/14/18; Defendant Younique, LLC's           Any alleged failure to produce
          Requests for Production Propounded to        documents in discovery is not
  8       Plaintiff Megan Schmitt, Set No. One         an issue that is properly before
  9       [Schmitt Dep Exh 101] Offered for limited the jury. Defendant has not
          purpose                                      made any motion in limine for
 10                                                    a negative inference regarding
 11                                                    any failure to produce other
                                                       discovery documents.
 12   104 3/17/18; Plaintiffs' Response to Defendants Any alleged failure to produce
 13       Requests for Production Propounded to        documents in discovery is not
          Plaintiff Megan Schmitt, Set No. One         an issue that is properly before
 14       [Schmitt Dep Exh 102] Offered for limited the jury. Defendant has not
 15       purpose                                      made any motion in limine for
                                                       a negative inference regarding
 16                                                    any failure to produce other
 17                                                    discovery documents.
      105 5/18/18; Plaintiffs' Response to Defendant's Plaintiffs’ Objection: Any
 18
          Requests for Production Propounded to        alleged failure to produce
 19       Plaintiff Megan Schmitt, Set No. Two         documents in discovery is not
          [Schmitt Dep Exh 104] Offered for limited an issue that is properly before
 20
          purpose                                      the jury. Defendant has not
 21                                                    made any motion in limine for
                                                       a negative inference regarding
 22
                                                       any failure to produce other
 23                                                    discovery documents.
 24

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  1                                             Plaintiffs’ Objection: Any
      106 3/14/18; Plaintiffs' Response to Defendants
          Special Interrogatories Propounded to alleged failure to produce
  2       Plaintiff Megan Schmitt, Set No. One  documents in discovery is not
  3       [Schmitt Dep Exh 105] Offered for limited
                                                an issue that is properly before
          purpose.                              the jury. Defendant has not
  4                                             made any motion in limine for
  5                                             a negative inference regarding
                                                any failure to produce other
  6                                             discovery documents.
  7   119 Senos Manufacturing Agreement         Incomplete document, no
          [YNQE0003081-YNQE0003087]             objections if redactions
  8                                             removed.
  9   121 Orlowsky YouTube video,               Object to relevance. Orlowsky
          https://www.youtube.com/watch?v=_N_1U and all Tennessee claims are
 10       edBZpY                                excluded. Further object to
 11                                             lack of foundation, and that
                                                even if relevant more likely to
 12                                             lead to prejudice, confusion or
 13                                             waste of time.
 14

 15                        Defendant’s Objections To Exhibits:
      Ex.                 Description                           Objections
 16
          YNQE0000994 (Product Label) (Ranallo        Lacks foundation;
 17   1   Ex. 4)                                      unauthenticated; Incomplete
                                                      document
 18
          YNQE0000731 (Product Label)                 Lacks foundation;
 19   2                                               unauthenticated; Incomplete
                                                      document.
 20
          YNQE 1291-1296 (labels email attachment Lacks foundation;
 21   3   from October 2014) (Ranallo Ex. 8)          unauthenticated; email is
                                                      hearsay
 22
          8.11.14 Younique Website Capture (Ex. 3 Lacks foundation;
 23   4   to Cert. Motion)                            unauthenticated; document not
 24
                                                      disclosed during discovery
          Jeff McFadden Report                        Objections set forth in
      5
 25                                                   Younique’s MIL #2
 26       YNQE0001014- 1018 (1.25.14 Email Re:        Lacks foundation;
          Product Ingredients from Dixie Memmot to unauthenticated; hearsay
 27   6
          Melanie Huscroft w/ product ingredient list
 28       from Six Plus) (Ranallo Ex. 15)
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  1   Ex.                  Description                           Objections
            YNQE0001239-1240 (March 2014 Email          Lacks foundation;
  2   7     Re Green Tea classification) (Ranallo Ex.   unauthenticated; hearsay
  3         5)
            YNQE 1211 (Product Insert) (Ranallo Ex.     Lacks foundation;
  4   8
            9)                                          unauthenticated
  5         YNQE0001079-1081 (October 2013              Lacks foundation;
      9     Emails discussing dye in the Product)       unauthenticated; hearsay
  6         (Ranallo Ex. 14)
  7         YNQE 1872-1897 (Presentation) (Ranallo      Lacks foundation;
      10
            Ex. 17)                                     unauthenticated
  8         Photo of Product Packaging (Ranallo Ex.     Lacks foundation;
      11
  9         7)                                          unauthenticated
            Document with Product Ingredients Sent to   Lacks foundation;
 10
      14    Younique Employees (Ex. 4 to Cert           unauthenticated; hearsay
 11         Motion)
            1/18/18; Answer to Second Amended           Lacks foundation; hearsay
 12   15
            Complaint
 13         December 12, 2018 Report of Donald May      Objections set forth in
      16
                                                        Younique’s MIL #1
 14
            Computer screen capture of Younique         Object for relevance, to extent
 15         order confirmation, Order Number            these aren’t personal use
            15493092 for Stephanie Brun (Document       purchases, and related to
 16   18
            described as having an identifier of        products not at issue in this
 17         SMB007JPG contained in the email to         litigation. Incomplete
 18
            which it was attached) [Brun Dep Exh 4]     document.
      19    Computer screen capture of Younique         Object for relevance, to extent
 19         order confirmation, Order Number            these aren’t personal use
 20         2382420 for Stephanie Brun (Document        purchases. Incomplete
            described as having an identifier of        document.
 21         SMB008JPG contained in the email to
 22         which it was attached) [Brun Dep Exh 12]
      20    Computer screen capture of Younique         Object for relevance, to extent
 23         order confirmation, Order Number            these aren’t personal use
 24         2742919 for Stephanie Brun (Document        purchases. Incomplete
            described as having an identifier of        document.
 25         SMB009JPG contained in the email to
 26         which it was attached) [Brun Dep Exh 13]

 27

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  1   Ex.                 Description                           Objections
      21 Computer screen capture of Younique          Object for relevance, to extent
  2       order confirmation (Document described as   these aren’t personal use
  3       having an identifier of SMB010JPG           purchases. Incomplete
          contained in the email to which it was      document.
  4       attached) [Brun Dep Exh 14]
  5   22 Computer screen capture of Younique          Object for relevance, to extent
          order confirmation, Order Number            these aren’t personal use
  6       2844877 for Stephanie Brun (Document        purchases. Incomplete
  7       described as having an identifier of        document.
          SMB011JPG contained in the email to
  8       which it was attached) [Brun Dep Exh 15]
  9   23 Computer screen capture of Younique          Object for relevance, to extent
          order confirmation, Order Number            these aren’t personal use
 10       3263041 for Stephanie Brun (Document        purchases. Incomplete
 11       described as having an identifier of        document.
          SMB012JPG contained in the email to
 12       which it was attached) [Brun Dep Exh 16]
 13   24 Computer screen capture of Younique          Object for relevance, to extent
          order confirmation, Order Number            these aren’t personal use
 14
          3262892 for Stephanie Brun (Document        purchases. Incomplete
 15       described as having an identifier of        document.
          SMB013JPG contained in the email to
 16
          which it was attached) [Brun Dep Exh 17]
 17   25 Computer screen capture of Younique          Object for relevance, to extent
          order confirmation, Order Number            these aren’t personal use
 18
          3701906 for Stephanie Brun (Document        purchases. Incomplete
 19       described as having an identifier of        document.
          SMB014JPG contained in the email to
 20
          which it was attached) [Brun Dep Exh
 21       18]
      26 Computer screen capture of Younique          Object for relevance, to extent
 22
          order confirmation, Order Number            these aren’t personal use
 23       4583431 for Stephanie Brun (Document        purchases. Incomplete
          described as having an identifier of        document.
 24
          SMB016JPG contained in the email to
 25       which it was attached) [Brun Dep Exh 20]
 26
      27 1/4/18; Second Amended Class Action          Hearsay
          Complaint [Brun Dep Exh 5]
 27

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  1   Ex.                Description                                   Objections
      29 Computer Screen Capture of Younique                Lacks foundation;
  2       Presenters Guide in use during 2015.              unauthenticated; hearsay;
  3                                                         relevance; not produced in
                                                            discovery
  4   30    YNQE0000345 (Sales Data Oct. 2012 –             Irrelevant to extent reflects
  5         Nov. 2015)                                      sales past the statute of
                                                            limitations
  6

  7
      11.   Witness lists of the parties are being contemporaneously filed with the
  8
            Court. Only the witnesses identified in the lists will be permitted to
  9
            testify (other than solely by impeachment)
 10
            Each party intending to present evidence by way of deposition testimony has
 11
      or will mark such depositions in accordance with L.R. 16-2.7. For this purpose the
 12
      following depositions shall be lodged with the Clerk as required by L.R. 32-1.
 13
            (a) Carol Orlowsky
 14
            (b) Vrena Ranallo
 15
            (c) Robert Phillips
 16
            Plaintiff/Defendant objects to the presentation of testimony by deposition of
 17
      the following witnesses:
 18
            Plaintiffs object to the testimony of Carol Orlowsky.
 19
            Defendant notes that following meet and confer, Plaintiffs determined that
 20
      they would present the testimony of Ms. Ranallo and Mr. Phillips by deposition.
 21
      Defendant has not yet received Plaintiffs’ deposition markings; upon review,
 22
      Defendant may cross-mark testimony and/or object thereto.
 23
            Defendant also objects to Plaintiffs’ witness list to the extent that Ms. Karen
 24
      Griffin of Impact Analytical is identified. Plaintiffs never disclosed Ms. Griffin in
 25
      its initial disclosures or during discovery. See Defendant’s Motion in Limine, no. 2
 26
      (Dkt. 147).
 27

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  1 12.       The following law and motion matters and motions in limine are
  2          pending:
  3       a. Motion in Limine Seeking Evidentiary Sanction of Issue Preclusion or
  4          Adverse Inferences at Trial.
  5       b. Defendant’s Motion in Limine (1) to Exclude Plaintiffs’ expert Donald May,
  6          Ph.D..
  7       c. Defendant’s Motion in Limine (2) to Exclude Plaintiffs’ expert Jeff
  8          McFadden.
  9       d. There is an outstanding discovery motion which Plaintiffs had filed (Dkt. 68,
 10          Plaintiffs’ Ex Parte Application to Continue Scheduling Order), where no
 11          decision was reached.
 12       e. The parties agree that notice of certification must be sent to the class.
 13          Plaintiffs provided a form of class notice to defendants for review, and, are
 14          also working on a notice plan. Upon completion of the meet and confer
 15          process, Plaintiffs anticipate filing a motion. Defendant’s position is that the
 16          trial should be continued to accommodate notice (see F.R.C.P. 23(c)(2)(B);
 17          the parties are meeting and conferring on this issue.
 18 13.      Bifurcation of the following issues for trial is ordered:
 19          The punitive damages and UCL claim will be bifurcated. All claims except
 20          for these will be heard first by the jury; then the claim for punitive damages
 21          will be heard by the jury; and then the UCL claim will be heard by the district
 22          court.
 23 14.      The forgoing admissions having been made by the parties and the parties
 24          having specified the foregoing issues remaining to be litigated, this Final
 25          Pretrial Conference Order shall supersede the pleadings and govern the
 26          course of the trial of this cause unless modified to prevent manifest
 27          injustice.
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  1 Dated:

  2
                                                            _________________
                                                            James V. Selna
  3                                                         UNITED STATES DISTRICT JUDGE
  4

  5
       Dated: January 29, 2019                  NYE, STIRLING, HALE & MILLER, LLP
  6
                                                By: /s/
  7                                                 Jonathan D. Miller, Esq.
                                                    Alison M. Bernal, Esq.
  8

  9    Dated: January 29, 2019                  CARLSON LYNCH SWEET
                                                KILPELA & CARPENTER, LLP
 10
                                                By: /s/
 11                                                 Ed Kilpela, Esq.
 12
       Dated: January 29, 2019                  THE SULTZER LAW GROUP P.C.
 13
                                                By: /s/
 14                                                 Adam Gonnelli, Esq.
 15
       Dated: January 29, 2019                  WALSH, LLC
 16
                                                By: /s/
 17                                                 Bonner Walsh, Esq.
 18
                                                Attorneys for Plaintiffs and the Class
 19

 20    Dated: January 29, 2019                  SHEPPARD, MULLIN, RICHTER &
                                                HAMPTON, LLP
 21
                                                By: /s/ Sascha Henry
 22                                                 Sascha Henry, Esq.
                                                    Abby H. Meyer, Esq.
 23
                                             Attorneys for Defendant Younique, LLC
 24
              Local Rule 5-4.3.4 Certification: I hereby attest that all other signatories listed, on
 25
      whose behalf this filing is submitted, concur in the filing’s content and have authorized
 26
      this filing.                                          /s/
 27
                                                  Alison M. Bernal
 28
                                                     -42-
